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UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF GEORGIA

COLUMBUS DIVISION
UNITED STATES OF AMERICA : INDICTMENT
v. : CRIMINAL. NO: 4:13-CR- 37 (CDL)
KENDALL COCHRAN, : VIOLATIONS:
: 21 U.S.C. § 841(a)(1)
Defendant. : 21 U.S.C. § 841(b)(1)(C)

18 U.S.C. § 922(g)(1)
18 U.S.C. § 924(a)(2)

 

THE GRAND JURY CHARGES:
COUNT ONE

(Possession with Intent to Distribute Methamphetamine)

That on or about June 15, 2013, in the Columbus Division of the Middle District of

Georgia, and elsewhere within the jurisdiction of this Court,

KENDALL COCHRAN,

defendant herein, did unlawfully, knowingly, and intentionally possess with intent to distribute a

Schedule II controlled substance, to wit: a mixture or substance containing a detectable amount

of methamphetamine; all in violation of Title 21, United States Code, Sections 841(a)(1) and

841(b)(1)(C).
COUNT TWO

(Possession of a Firearm by a Convicted Felon)

That on or about June 15, 2013, in the Columbus Division of the Middle District of

Georgia, and elsewhere within the jurisdiction of this Court,

KENDALL COCHRAN,
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defendant herein, having been convicted of a crime punishable by imprisonment for a term
exceeding one (1) year, did knowingly receive and possess a firearm which had previously been
shipped and transported in interstate and foreign commerce, to wit: one Kel-Tech .32 caliber
pistol, serial number 93971; all in violation of Title 18, United States Code, Sections 922(g)(1)
and 924(a)(2).

A TRUE BILL.

/s/Foreperson of the Grand Jury

FOREPERSON OF THE GRAND JURY
MICHAEL J. MOORE

UNITED STATES ATTORNEY

Presented by:

fn tkhtd
MELVIN E. HYDE, JR.
ASSISTANT UNITED STATES ATTORNEY

Filed in open court this [ Lay ot apilenten A.D, 2013.

Deputy Cle
